Case 2:05-cv-02287-dkv Document 16-1 Filed 03/27/06 Page 1 of 4                     PageID 48
 4573-4


                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION

 ___________________________________________
                                                         )
 ZIAD SAID OZRAIL,                                       )
                                                         )
          Plaintiff,                                     )
                                                         )
   v.                                                    ) Civil Action No. 05-2287-BV
                                                         )
 Z BEST OIL CO. INC., HAITHAM A.                         )
 ALYOUSEF and NASSER OZRAIL,                             )
 d/b/a Z BEST MARKET,                                    )
                                                         )
          Defendants.                                    )
                                                         )


                        INITIAL DISCLOSURES OF ZIAD SAID OZRAIL

          In accordance with Fed. R. Civ. P. 26(a)(1) and the Court's Rule 16(b) Scheduling

 Order, dated August 24, 2005, Plaintiff, Ziad Said Ozrail ("Z. Ozrail") hereby serves the

 following initial disclosures:

 Rule 26(a)(1)(A):      The name and, if known, the address and telephone number of
                        each individual likely to have discoverable information that the
                        disclosing party may use to support its claims or defenses, unless
                        solely for impeachment, identifying the subjects of the
                        information.


          As presently advised, the following persons are believed to have discoverable

 information regarding Z. Ozrail's claims. In this connection, however, certain

 information relating to Z. Ozrail's claims is solely within the knowledge and possession

 of persons known only to Defendants. As a result, Z. Ozrail cannot identify such persons

 at this time and, therefore, Z. Ozrail reserves the right to rely upon such persons or other

 persons who later come to their attention.



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Case 2:05-cv-02287-dkv Document 16-1 Filed 03/27/06 Page 2 of 4                       PageID 49
 Civil Action No. 05-2287-BV
 4573-4

    Persons With Knowledge Of Facts                  Anticipated Subjects Of Information

 Ziad Said Ozrail                                  Plaintiff's use and registration of the mark
 838 Shotwell Road                                 Z MARKET; Defendants' infringement of
 Memphis, Tennessee 38111                          Plaintiff's mark; and resulting damages
 (901) 650-4321
 Z Best Oil Co., Inc.                              Defendants' use of the mark Z BEST
 3888 Macon Road                                   MARKET; Defendants' infringement of
 Memphis, Tennessee 38122                          Plaintiff's mark; and resulting damages.
 (901) 454-5800
 Haitham A. Alyousef                               Defendants' use of the mark Z BEST
 3114 Holly Heath Drive                            MARKET; Defendants' infringement of
 Memphis, Tennessee 38119                          Plaintiff's mark; and resulting damages
 Nasser Ozrail                                     Defendants' use of the mark Z BEST
 3301 Knight Trails Circle                         MARKET; Defendants' infringement of
 Apartment 107                                     Plaintiff's mark; and resulting damages
 Memphis, Tennessee 38115


 Rule 26(a)(1)(B):      A copy of, or description by category and location of, all
                        documents, data compilations, and tangible things that are in the
                        possession, custody, or control of the party and that the disclosing
                        party may use to support its claims or defenses, unless solely for
                        impeachment.


        The following are the categories of documents, data compilations and/or tangible

 things in the possession, custody, or control of Z. Ozrail located at the offices of Z. Ozrail

 or its counsel of record that Z. Ozrail reasonably anticipates at present it may use to

 support its claims, unless solely for impeachment.

        1.      Plaintiff's use and registration of the mark Z MARKET in the State of

                Tennessee;

        2.      Defendants' use of the mark Z BEST MARKET and infringement of

                Plaintiff's mark;

        3.      Plaintiff's damages resulting from Defendants' infringement of Plaintiff's

                mark;


                                               2
                                                                                           989112
Case 2:05-cv-02287-dkv Document 16-1 Filed 03/27/06 Page 3 of 4                       PageID 50
 Civil Action No. 05-2287-BV
 4573-4

        4.      Plaintiff's commercial success and goodwill acquired by Plaintiff resulting

                from the use of Plaintiff's mark;

        5.      Plaintiff's budget, sales, marketing and strategic operating plans;

        6.      Actual confusion resulting from Defendants' use of the mark Z BEST

                MARKET and infringement of Plaintiff's mark;

        7.      Plaintiff's prior communications with Defendants.

        Identification and production by Z. Ozrail of the above categories of documents

 shall not be construed as a waiver of attorney-client privilege, work-product immunity,

 and/or any other privilege or exception afforded to Z. Ozrail under the law. Z. Ozrail

 reserves the right to supplement these documents.



 Rule 26(a)(1)(C):      A computation of any category of damages claimed by the
                        disclosing party, making available for inspection and copying as
                        under Rule 34 the documents or other evidentiary material, not
                        privileged or protected from disclosure, on which such
                        computation is based, including materials bearing on the nature
                        and extent of injuries suffered.

        Pending discovery as to the extent of Defendants' sales, profits and use of the

 mark Z BEST MARKET, Z. Ozrail is unable to compute the damages arising out of

 Defendants' infringement of Plaintiff's mark. Damages would be computed, however, in

 accordance with 15 U.S.C. §1117 and Tenn. Code Ann. §47-18-109 and §47-25-514, that

 is, as the amount adequate to compensate Z. Ozrail for Defendants' infringement, but in

 no event less than Defendants' profits and damages sustained by Plaintiff, together with

 attorneys' fees, interest and costs as fixed by the Court.

 Rule 26(a)(1)(D):      For inspection and copying as under Rule 34 any insurance
                        agreement under which any person carrying on an insurance
                        business may be liable to satisfy part of all of a judgment which


                                               3
                                                                                        989112
Case 2:05-cv-02287-dkv Document 16-1 Filed 03/27/06 Page 4 of 4                    PageID 51
 Civil Action No. 05-2287-BV
 4573-4

                       may be entered in the action or to indemnify or reimburse for
                       payments made to satisfy the judgment.


        Z. Ozrail is not aware of any pertinent insurance policies at this time.



 Dated: September 7, 2005                  ZIAD SAID OZRAIL


                                           By _________________________________
                                              James R. Newsom III
                                              Attorney for Plaintiff
                                              Harris Shelton Hanover Walsh PLLC
                                              2700 One Commerce Square
                                              Memphis, Tennessee 38103-2555
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 __________________________
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 F - (703) 816-4100
 Fpp@nixonvan.com
 Attorney for Plaintiff


                                   Certificate of Service

               I hereby certify that a true and correct copy of the foregoing document has
 been mailed, First Class postage prepaid to John Hershberger, Hershberger Price, PLLC,
 239 Adams Avenue, Memphis, Tennessee 38103, attorney for defendants, this 7th day of
 September, 2005.


                                              _________________________________
                                              James R. Newsom III




                                              4
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